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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------- x
                                    :
 UNITED STATES OF AMERICA
                                    :
              - v. -
                                    :         22 Cr. 673 (LAK)
 SAMUEL BANKMAN-FRIED,
      a/k/a “SBF,”                  :

                      Defendant.    :
 ---------------------------------- x




        THE GOVERNMENT’S OPPOSITION TO THE DEFENDANT’S
  MOTION TO COMPEL THE GOVERNMENT TO PRODUCE DOCUMENTS AND
   FOR AN ORDER AUTHORIZING A SUBPOENA TO FENWICK & WEST LLP




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                                PRELIMINARY STATEMENT

       The defendant has moved (i) to compel the Government to produce documents that are in

the possession of the law firm of Fenwick & West LLP (“Fenwick”), and (ii) in the alternative, for

an order authorizing the issue of a Rule 17(c) subpoena to Fenwick for documents falling into

eleven broad categories. (Dkt. 151). Both motions should be denied. The FTX Debtors have been

responding to the Government’s document requests voluntarily, without any form of agreement,

and nothing about the parties’ interactions justifies the defendant’s unprecedented demand that the

Government obtain largely privileged documents in the possession of the FTX Debtors’ prior

outside counsel, Fenwick. Indeed, the Government’s discovery and disclosure obligations do not

extend to materials in the possession of third parties, or to privileged materials not in the actual

possession of the prosecution team, and Rule 16 and Brady do not require the disclosure of

privileged materials just because the defendant believes they could be material to his defense.

       Additionally, the defendant’s request for a Rule 17(c) subpoena to Fenwick is an

impermissible attempt to circumvent discovery rules. The Government has already produced to

the defendant all the materials it received from the FTX Debtors, as well as records seized from

Google accounts belonging to the defendant and others, and as a result he already has access to

many of the materials sought by the proposed subpoena. The subpoena as written, however, is

plainly improper under United States v. Nixon, 418 U.S. 683 (1974), inasmuch as it fails to seek

only relevant, admissible, and specific evidence—that is, identified evidence that the defendant

intends and is able to introduce as exhibits at trial. The defendant’s requests fail to satisfy this

“strict standard.” United States v. Shah, No. 19 Cr. 833 (SHS), 2022 WL 1422252, at *3 (S.D.N.Y.

May 5, 2022). As an example of the subpoena’s unreasonable breadth, it seeks all of Fenwick’s

work over a five-year period concerning in any way the “formation and incorporation” of any
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entity that is a subsidiary or affiliate of Alameda Research or FTX, and it requests all work

concerning “planned or actual statements or representations made on the FTX.com or FTX.us

websites” regardless of whether they relate to the subject matter of this case. The Court should

deny the defendant’s request for the subpoena.

                                        BACKGROUND

       The defendant was charged in the S5 superseding indictment on March 27, 2023. (Dkt. 115

(the “Indictment”)). As is relevant to the defendant’s motion, Count Nine of the Indictment alleges

that the defendant conspired to commit bank fraud, in violation of 18 U.S.C. §§ 1344 and 1349,

by making false representations that a bank account in the name of North Dimension would be

used for trading and market making, when in fact it would be, and was, used to receive and transmit

FTX customer funds. (Indictment ¶¶ 16–21, 85–87). Count Ten alleges that the defendant

conspired to operate an unlicensed money transmitting business, in violation of 18 U.S.C. §§ 371

and 1960. (Indictment ¶¶ 14–15, 21, 88–91). According to the defendant, “Fenwick provided real-

time legal advice to FTX about both the opening of the North Dimension bank account and whether

or not FTX needed to register as a money services business.” (Dkt. 151 at 3). The Indictment also

describes the defendant’s use of ephemeral messaging applications and the structuring of certain

transactions as “loans.” (Indictment ¶¶ 4, 47-48, 60). The defendant claims that Fenwick also

provided legal advice on those topics. (Dkt. 151 at 3-4).

       The defendant proffers that he has made document requests to Fenwick, which indicated it

could not provide documents without the consent of its clients, and to the FTX Debtors, with whom

he continues to negotiate. (Dkt. 151 at 5). The defendant acknowledges the possibility that many

documents may be protected by the attorney-client privilege, and that “the FTX Debtors may

refuse to waive privilege.” (Id.). Nonetheless, the proposed subpoena seeks all records in response

to eleven broad requests. (Dkt. 151-1). Those requests to Fenwick are for documents relating to:

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(1) “formation and incorporation” of FTX and Alameda Research entities, (2) “formation and

incorporation” of North Dimension entities, (3) whether FTX, Alameda Research, or North

Dimension were required to register as a money services business, (4) Silvergate Bank, (5) “data

retention policies” and related policies, (6) FTX’s margin lending program and liquidity

requirements, (7) several FTX customer agreements, (8) intercompany agreements between FTX

and Alameda Research, (9) “planned or actual statements or representations” on FTX’s website,

(10) statements and representations to investors, and (11) loans and lines of credit. (Dkt. 151 at 6-

10). As the defendant’s motion makes clear, the Government has previously produced the

documents responsive to each of these requests in its possession, including records obtained from

the FTX Debtors, from other third parties, or pursuant to search warrants.

                                          ARGUMENT

I.     The Government Has No Obligation to Produce Records in the Possession of
       Fenwick

       The Government has no Brady or discovery obligation to obtain and produce materials in

the sole possession of the FTX Debtors or their outside counsel at Fenwick. As this Court has

recognized, and as stated in the Government’s opposition to the defendant’s pretrial motions, “the

Brady obligations of the prosecutors extend only to materials within prosecutors’ possession,

custody or control,” or in appropriate cases and with respect to particular materials, other

components of government involved in the prosecution. United States v. Blaszczak, 308 F. Supp.

3d 736, 742 (S.D.N.Y. 2018). Likewise, Rule 16 extends only to materials “within the prosecutor’s

possession, custody or control.” Fed. R. Crim. P. 16(a)(1)(E); see also United States v. Chalmers,

410 F. Supp. 2d 278, 289-90 (S.D.N.Y. 2006) (“the Court is not persuaded that the ‘government’

for purposes of Rule 16 should be any broader than the ‘prosecution team’ standard that has been

adopted in the Brady line of cases”). “Clearly the government cannot be required to produce that


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which it does not control and never possessed or inspected.” United States v. Hutcher, 622 F.2d

1083, 1088 (2d Cir. 1980) (quoting United States v. Canniff, 521 F.2d 565, 573 (2d Cir. 1975)).

       The defendant’s motion is based on the same faulty theory that underlies his prior motion,

arguing that the Government must produce materials in the possession of the FTX Debtors, and

should be denied for the reasons articulated in the Government’s opposition to that motion. (Dkt.

149 at 56-67). The Government does not have actual possession of the materials sought by the

defendant. Rather, to justify his unprecedented request that the Government compel an outside law

firm, without its client’s consent, to produce materials, the defendant argues that the requested

materials are within the Government’s “control” because the FTX Debtors have provided

“cooperation” and “unrestricted access” in response to the Government’s document requests. (Dkt.

151 at 12). As the Government argued in its prior opposition, the argument is incorrect in several

respects.

       First, the Debtors’ cooperation (in the informal rather than technical sense) is routine in

criminal investigations and does not mean that the Government has “control” over their materials.

(Dkt. 149 at 57–58). This is even more the case with Fenwick, which like the FTX Debtors and

their counsel did not participate in witness interviews, review documents “gathered only by the

prosecution” such as Rule 6(e) material or search warrant returns, develop “prosecutorial strategy,”

or select charges or present them to the grand jury. Blaszczak, 308 F. Supp. 3d at 742-43

(examining relevant considerations in determining whether a “joint investigation” occurred); see

also United States v. Middendorf, No. 18 Cr. 36 (JPO), 2018 WL 3956494, at *4 (S.D.N.Y. Aug.

17, 2018) (same). In fact, the Government’s interactions have been limited with Fenwick, and the

only documents obtained from Fenwick—pursuant to a subpoena—relate to a matter not covered

by the defendant’s proposed subpoena.



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       Second, the Government does not have “unrestricted access” to materials in the possession

of Fenwick or the FTX Debtors. The FTX Debtors have produced materials pursuant to written

document requests, and Fenwick produced records pursuant to a subpoena. As the defendant

concedes in his motion, the FTX Debtors “have no obligation (written or otherwise) to produce

documents to the Government.” (Dkt. 151 at 13). Both the FTX Debtors and Fenwick have

declined to produce certain materials on privilege grounds, have redacted materials from

productions, and have in some cases attempted to narrow the scope of Government requests. The

materials in the possession of both the Debtors and Fenwick are, therefore, outside the control of

the Government. See United States v. Tomasetta, No. 10 Cr. 1205 (PAC), 2012 WL 896152, at *5

(S.D.N.Y. Mar. 16, 2012) (the government was not in “control” of materials in the possession of

a third party’s outside counsel where it had to subpoena records).

       The defendant cites this Court’s decision in United States v. Stein, 488 F. Supp. 2d 350,

363 (S.D.N.Y. 2007), but that case only proves the Government’s point. In Stein, this Court held

that documents were in the “control” of the government because the defendants’ former employer,

KPMG, had entered into a deferred prosecution agreement with the government that gave the

government “the legal right to obtain … documents.” Id. at 362-63. Here, unlike there, as the

defendant notes, “the FTX Debtors are not subject to a DPA like KPMG” that gave the government

“effective control over KPMG’s documents.” (Dkt. 151 at 14). Attempting to downplay that clear

distinction between this case and Stein, the defendant speculates that the FTX may have entered

into a deferred prosecution agreement had it not gone bankrupt. (Id. at 14-15). FTX’s hypothetical

legal obligations in a theoretical alternative reality are not a basis to find the Government

“controls” FTX’s records in this case. The absence of any legal right of the Government to obtain

documents is yet another reason why documents in the possession of the FTX Debtors and Fenwick



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are not in the “control” of the Government. See Tomasetta, 2012 WL 896152, at *5; United States

v. Buske, No. 09 Cr. 65, 2011 WL 2912707, at *9 (E.D. Wis. July 18, 2011). 1

       The defendant relies heavily on United States v. Kilroy, 523 F. Supp. 206 (E.D. Wis. 1981),

but that case had different facts, did not order the relief sought by the defendant in this motion,

and has not been followed by courts to have considered the issue more recently. The defendant in

Kilroy merely sought documents that were in his office at the time he was fired by his employer,

while the defendant here seeks eleven broad categories of records, spanning years, and implicating

many documents that are privileged and were likely never in his custody. And the court in Kilroy

did not compel production, but required the government only to make its “best efforts” to obtain

the requested documents, while noting—contrary to the defendant’s position here—that the

employer had “no obligation to turn over any of its records to the defendant or to the Government.”

Id. Moreover, subsequent case law makes clear that Kilroy’s order to the government to make its

“best efforts” to collect information from third parties is inconsistent with Brady and Rule 16.

“Brady . . . does not require the government to act as a private investigator and valet for the

defendant, gathering evidence and delivering it to opposing counsel.” United States v. Meregildo,

920 F. Supp. 2d 434, 445 (S.D.N.Y. 2013). It is thus no surprise that Kilroy is an outlier that courts

both in that district and this district have declined to follow. See Buske, 2011 WL 2912707, at *9

(declining to order Government to produce records in the possession of a cooperating company

and its outside counsel, and declining to follow Kilroy which “did not purport to require a third



       1
         Courts have also taken the view that unlike with respect to the Federal Rules of Civil
Procedure, “control” as used in Rule 16 of the Federal Rules of Criminal Procedure requires “actual
custody or control” and not simply a “legal right to obtain.” See United States v. Ng Chong Hwa,
No. 18 Cr. 538 (E.D.N.Y.) (MKB), Dkt. No. 84 at 131 (Sept. 3, 2021) (Redacted Order). Because
the Government is not in actual control of the requested records, that is also a basis to deny the
motion.


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party [to] turn [records] over”); Tomasetta, 2012 WL 896152, at *5 (distinguishing Kilroy and

declining to order Government to “discover or obtain” materials in the possession of a law firm). 2

Kilroy does not provide a basis to compel the Government to produce records in the possession of

Fenwick.

       Finally, unlike in the cases cited by the defendant, here the requested records undoubtedly

are largely privileged. The vast number of privileged records that the defendant seeks are plainly

not within the Government’s possession, custody, or control. The Government is not a party to

FTX’s or Alameda’s corporate privilege; the Government has never been privy to confidences

shared by either company with Fenwick; there has been no broad privilege waiver; and both

Fenwick and the FTX Debtors have refused to produce privileged documents to the Government

without a waiver. Privileged documents not available to the Government are not in its possession,

custody, or control. See United States v. Parnas, No. 19 Cr. 725 (JPO), 2021 WL 2981567, at *9

(S.D.N.Y. July 14, 2021) (records in the possession of the filter team and special master were not

in the “possession, custody, and control” of the Government such that they were subject to

discovery). Regardless of whether the defendant believes privileged materials would be helpful to

him, they do not “become discoverable simply because a defendant wishes to use those

communications in his defense.” United States v. Milton, No. 21 Cr. 478 (ER), 2022 WL 4110256,

at *6 (S.D.N.Y. Sept. 8, 2022) (declining to require corporation to produce privileged records to

its former CEO in response to a subpoena); United States v. Wells Fargo Bank, 132 F. Supp. 3d

558, 565 (S.D.N.Y. 2015) (same in civil suit). The defendant responds that, if materials are

privileged, the FTX Debtors and Fenwick should be required to create a privilege log. (Dkt. 151


       2
        This Court cited Kilroy in its decision in Stein, but as noted, the decision in Stein rested
on a deferred prosecution agreement that gave the Government “the legal right to obtain these
documents,” a circumstance not present here. Stein, 488 F. Supp. 2d at 363.


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at 17). But that contention conflates the issue in the defendant’s first motion—whether the

Government “controls” the privileged documents—with the issue in the second—whether the FTX

Debtors should be required to produce the documents.

          The FTX Debtors and their outside counsel at Fenwick are not an arm of the prosecution,

and the Government does not have possession, a legal right to obtain, or the practical ability to

collect the largely privileged documents sought by the defendant. The motion to compel should be

denied.

II.       The Court Should Deny the Defendant’s Request for a Rule 17(c) Subpoena

          The motion to issue a Rule 17(c) subpoena to Fenwick should be denied because the

proposed subpoena cannot satisfy Nixon’s requirements that the evidence be specifically

identified, and that it be relevant and admissible at trial. 3

          A.     Legal Standard

          Federal Rule of Criminal Procedure 17(c)(1) authorizes subpoenas for “any books, papers,

documents, data, or other objects.” “Rule 17(c) was not intended to provide an additional means

of discovery.” Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951); see also United

States v. Skelos, No. 15 Cr. 317 (KMW), 2018 WL 2254538, at *2 (S.D.N.Y. May 17, 2018) (“a

criminal subpoena should not be used as a discovery device, but instead should be used only as a


          3
           As a party to this case, and because the defendant moved for a Rule 17(c) subpoena, the
Government has standing to oppose the subpoena to Fenwick. See United States v. Nektalov, No.
03 Cr. 828 (PKL), 2004 WL 1574721, at *1 (S.D.N.Y. July 14, 2004). The Government
understands, additionally, that the FTX Debtors will be filing an opposition to the defendant’s
request for a subpoena. The Court can resolve the propriety of a Rule 17 subpoena on the
Government’s motion even if the Government lacks standing “because it is the Court’s
responsibility to ensure that the subpoena is for a proper purpose and complies with the
requirements of Rule 17(c).” United States v. Weissman, No. 01 Cr. 529 (BSJ), 2002 WL
31875410, at *1 (S.D.N.Y. Dec. 26, 2002); see also United States v. Cole, No. 19 Cr. 869 (ER),
2021 WL 912425, at *2 (S.D.N.Y. Mar. 10, 2021) (“Preventing the undue harassment of a
cooperating witness is a legitimate governmental interest giving rise to standing in this context . .
. .” (citations omitted)).

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mechanism for obtaining specific admissible evidence” (citations omitted)). “Because of this,

‘courts must be careful that rule 17(c) is not turned into a broad discovery device, thereby

undercutting the strict limitation of discovery in criminal cases found in Rule 16.’” United States

v. Barnes, No. 04 Cr. 186 (SCR), 2008 WL 9359654, at *2 (S.D.N.Y. Apr. 2, 2008) (citing United

States v. Cherry, 876 F. Supp. 547, 552 (S.D.N.Y. 1995)). As such, Rule 17 subpoenas are held to

a “strict standard” announced by the Supreme Court in United States v. Nixon, 418 U.S. 683

(1974):

               In order to obtain documents prior to trial, the party making the
               request must demonstrate that:
               (1) the documents sought are evidentiary and relevant;
               (2) the materials are not otherwise procurable in advance of trial by
               the exercise of due diligence;
               (3) the party seeking documents cannot properly prepare for trial
               without such production and inspection in advance of trial and the
               failure to obtain such inspection may tend unreasonably to delay the
               trial; and
               (4) the application is made in good faith and is not intended as a
               general fishing expedition.

United States v. Carroll, No. 19 Cr. 545 (CM), 2019 WL 6647871, at *1 (S.D.N.Y. Nov. 8, 2019)

(quoting Nixon, 418 U.S. at 699-700 (citation omitted)). To show that the documents are

“evidentiary and relevant,” Nixon held that the party requesting the subpoena “must clear three

hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Nixon, 418 U.S. at 700. “This test is the

hallmark of Rule 17(c)(2) analysis, and courts in this jurisdiction and elsewhere have repeatedly

and consistently applied it to determine whether third-party subpoenas served by defendants must

be quashed as unreasonable or oppressive.” Barnes, 2008 WL 9359654, at *2 (collecting cases);

Skelos, 2018 WL 2254538, at *1 (“courts in the Second Circuit have almost unanimously

applied Nixon to subpoenas served on third-parties”). Under this test, “[t]he defendant has the




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burden of specifically identifying the materials sought, and showing that they are relevant and

admissible.” Barnes, 2008 WL 9359654, at *3.

       “In order to satisfy the specificity requirement of Nixon, the party seeking production of

the materials must ‘reasonably specify the information contained or believed to be contained in

the documents sought’ rather than ‘merely hope that something useful will turn up.” Id. at *4

(quoting United States v. Sawinski, No. 00 Cr. 499 (RPP), 2000 WL 1702032, at *2 (S.D.N.Y.

Nov. 14, 2000) (cleaned up)). In other words, the subpoena must be targeted at obtaining

“identified evidence” rather than serve as a “general fishing expedition.” Id. (quoting United States

v. Cuthbertson, 630 F.2d 139, 144 (3d Cir. 1980)). In order to satisfy the relevancy and

admissibility requirement, “the document[s] sought must at that time meet the tests of relevancy

and admissibility.” United States v. Marchisio, 344 F.2d 653, 669 (2d Cir. 1965) (emphasis added).

They cannot “merely be potentially relevant or admissible.” Barnes, 2008 WL 9359654, at *3.

Importantly, “Rule 17(c) subpoenas cannot be used to obtain documents that would be excluded

on hearsay grounds or would otherwise be inadmissible as evidence at trial.” Skelos, 2018 WL

2254538, at *2.

       B.      The Proposed Subpoena Does Not Seek Specifically Identified, Admissible
               Evidence

       The defendant’s proposed subpoena does not seek specifically identified admissible

materials. Rather, it bears the hallmarks of a generalized fishing expedition that fails to meet the

specificity, relevance, and admissibility requirement set forth in Nixon. Specifically:

       Requests 1 and 2. Requests 1 and 2 collectively seek all documents from over a five-year

period reflecting any research, assessment, analysis, guidance, or legal advice that Fenwick

provided concerning “the formation and incorporation” of FTX, FTX US, Alameda, North

Dimension Inc., North Wireless Dimension Inc., North Dimension Ltd., and their subsidiary and


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affiliate entities. (Dkt. 151-1 at 6-7). The requests, however, do not identify any specific documents

or communications. Rather, it is clear from the examples contained in the proposed subpoena that

these requests are virtually limitless when applied to Fenwick’s work for FTX and Alameda. The

subpoena would require the production of not just incorporation paperwork, but effectively all

documents about the creation of any entity including anything about “jurisdictional and regulatory

considerations”; anything about drafting “futures exchange documents”; anything about “futures

trading regulation”; anything about regulators’ “no action letters and policy statements regarding

foreign exchange registration”; any “regulatory advice on foreign jurisdictions”; and any “news

articles regarding CFTC enforcement actions against foreign exchanges.” (Dkt. 151-1 at 6).

         As a result, the requests will certainly sweep in entirely irrelevant materials that have

nothing to do with the charged offenses or the defendant’s state of mind (which is the only

potentially relevant basis proffered by the defendant in his motion (Dkt. 151 at 18)). For that

reason, courts in this Circuit routinely quash subpoenas that “blindly seek” broad categories of

documents like those sought here. Barnes, 2008 WL 9359654, at *4 (“[s]uch a blanket request

implicates all of the problems associated with a classic ‘fishing expedition’”); Shah, 2022 WL

1284550, at *2 (“The request for ‘all’ such documents and communications without a whiff of

specificity as to why she requires them is nothing more than an impermissible ‘fishing

expedition.’”). And because the first two requests in the proposed subpoena lack the requisite

specificity, it is impossible for the defendant to make the required showing that the documents to

be produced would have a relevant non-hearsay purpose. See United States v. Donziger, No. 11

Civ. 691 (LAK), 2021 WL 1865376, at *7 (S.D.N.Y. May 10, 2021) (“It is [the defendant’s]

burden to prove that the evidence he seeks is admissible, not [the government’s] burden to prove

it is not.”).



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       Requests 3. Request 3 seeks all Fenwick documents concerning whether FTX, Alameda,

or North Dimension were required to register as a Money Services Business as defined in 31 C.F.R.

1010.100(ff). (Dkt. 151-1 at 7). There are at least three problems with this request. First, it fails to

specifically identify what documents exist in Fenwick’s files that have not already been produced

by the FTX Debtors. As the defendant acknowledges in his motion, the FTX Debtors waived

privilege over whether FTX, Alameda, and North Dimension needed to register as money services

businesses, and the FTX Debtors have already responded to the Government’s request for them to

produce documents on this issue, including but not limited to those cited in the defendant’s motion.

(Id. at 17). Because the FTX Debtors’ privilege waiver covers exactly the issue that the defendant

contends is relevant to his defense, by definition any documents that have not already been

identified and produced pursuant to that waiver are irrelevant, and the request is also too broad.

       Second, because 18 U.S.C. § 1960 is a “general intent crime,” United States v. Neumann,

No. 21 Cr. 439 (NSR), 2022 WL 3445820, at *4 (S.D.N.Y. Aug. 17, 2022), “the defendant’s state

of mind with respect to the need for a State license [is] irrelevant,” United States v. Bah, No. 06

Cr. 243 (LAK), 2007 WL 1032260, at *1 (S.D.N.Y. Mar. 30, 2007). Because an “advice-of-

counsel defense is … inappropriate for general intent crimes,” evidence as to whether FTX and

Alameda received legal advice from Fenwick as to whether FTX, Alameda, or North Dimension

were required to register is irrelevant. United States v. Fitzsimmons, No. 02 Cr. 1066 (HB), 2003

WL 1571708, at *3 n.8 (S.D.N.Y. Mar. 26, 2003). Likewise, the absence of a willfulness

requirement in Section 1960 means that evidence of the defendant’s supposed good faith, based

on the involvement of attorneys, is also irrelevant.

       Third, even if the defendant were correct that communications to him from Fenwick

attorneys about the need to register were relevant to his state of mind, documents and



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communications that do not involve the defendant have no relevance to any fact in dispute. In other

words, to prove that documents are relevant to his state of mind, the defendant must first establish

that he received, read, or viewed those documents. Documents in Fenwick’s possession which

were never shared with the defendant are irrelevant to the defendant’s state of mind, and therefore

inadmissible. See S.E.C. v. Lek Sec. Corp., No. 17 Civ. 1789 (DLC), 2019 WL 5703944, at *4

(S.D.N.Y. Nov. 5, 2019) (“legal advice given to another does not establish good faith as a matter

of law”); accord United States v. Scully, 877 F.3d 464, 475 (2d Cir. 2017) (reversing decision

precluding evidence of legal advice provided to the defendant himself).

       The defendant also argues that these communications and documents would be admissible

as business records. (Dkt. 151 at 18). Not so. The case law is clear that “[a]n email ‘created within

a business entity does not, for that reason alone, satisfy the business records exception of the

hearsay rule.’” AngioDynamics, Inc. v. C.R. Bard, Inc., No. 17 Civ. 598 (BKS/CFH), 2022 WL

2643583, at *16 (N.D.N.Y. July 8, 2022) (quoting Morisseau v. DLA Piper, 532 F. Supp. 2d 595,

621 n.163 (S.D.N.Y. 2008)). The same would be true for other documents in Fenwick’s possession.

Otherwise, “virtually any document found in the files of a business which pertained in any way to

the functioning of that business would be admitted willy-nilly as a business record.” United States

v. Ferber, 966 F. Supp. 90, 99 (D. Mass. 1997). For Fenwick’s documents to be admissible as

business records, there must be an indication that the particular “activity occur[red] regularly,”

such as “weekly update” emails, and not “one-off” statements, like those that would likely be at

issue here. In re Lyondell Chem. Co., No. 9-10023, 2016 WL 6108526, at *2-5 (Bankr. S.D.N.Y.

Oct. 19, 2016). The defendant has not made such a showing, and therefore the requested documents

are inadmissible hearsay. Of course, the claim that the documents requested are not barred by the

rule against hearsay is no answer to the fact that the documents are irrelevant, and it is therefore



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meaningless to argue, as the defendant does, that “any written work product that Fenwick produced

will be admissible as a business record under Rule 803(6) of the Federal Rules of Evidence.” (Dkt.

151 at 18). The business records exception to the rule against hearsay—even if it did apply here—

does not provide a basis for admissibility of otherwise irrelevant materials.

       Requests 4 and 6. Request 4 seeks all Fenwick documents spanning a three-year period

relating to (i) the opening of bank accounts at Silvergate Bank by FTX, Alameda, or North

Dimension, (ii) the use of such accounts to process deposits and withdrawals on behalf of FTX

customers; (iii) the use of such accounts to conduct over-the-counter trading and processing on

behalf of FTX customers, and (iv) responses by FTX, Alameda, and North Dimension to

compliance inquiries from Silvergate Bank. Request 6 seeks all Fenwick documents concerning

FTX’s or FTX US’s margin lending program and liquidity requirements. Like the prior requests,

these requests are not sufficiently specific in their identification of relevant, admissible evidence.

There is no indication in the defendant’s motion as to which specific documents he is seeking.

Rather, as the invoices cited by the defendant illustrate, Fenwick did a substantial amount of work

that may relate to the banking relationship with Silvergate or the lending and liquidity requirements

of FTX. These requests appear to be a broad fishing expedition aimed at finding something about

Silvergate or FTX’s lending program that could be relevant to the charged offenses. But the

defendant’s failure to articulate which specific documents he is seeking, why they are relevant to

the charged offenses, and why they are admissible, is a basis to deny these requests in the proposed

subpoena.

       Requests 5, 7, and 8. Requests 5, 7, and 8 seek Fenwick materials relating to the following

documents: data retention policies, auto-delete policies, ephemeral messaging application policies,

FTX’s terms of service, FTX’s customer agreements, FTX’s user agreements, FTX’s master



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agreement, and various intercompany agreements. To the extent these requests seek emails and

documents that were never sent to or received by the defendant, they do not appear to have any

relevant non-hearsay purpose, and therefore fail the Nixon standard.

        Requests 9 and 10. Request 9 seeks Fenwick documents relating to “planned or actual

statements or representations made on the FTX.com or FTX.us websites,” and Request 10 seeks

“representations made or contemplated to be made to actual or prospective investors in FTX, FTX

US, or lenders to Alameda.” (Dkt. 151-1 at 9-10). These requests are overbroad because they target

documents concerning all representations made on the FTX website or to investors and lenders,

and are not tailored to the types of representations at issue in the case, as alleged in the Indictment.

As a result, not only do these requests fail Nixon’s first requirement, but many of the requested

materials are sure to be irrelevant and therefore inadmissible. The defendant has also failed to

identify specific documents sought by these requests, or articulate how they are likely to be

relevant to negating proof of his guilt at trial. Finally, as was the case with Request 3, Fenwick’s

documents that were not shared with the defendant are not relevant to the defendant’s state of

mind, and therefore have no relevant non-hearsay purpose and are inadmissible.

        Request 11. Request 11 seeks documents from Fenwick concerning intercompany loans or

lines of credit, or loans or lines of credits to FTX’s founders and other executives. Once again, this

request is overly broad and inadequately tailored, and further, as described above, to the extent

this request seeks materials that were never sent to or received by the defendant, they do not have

a relevant non-hearsay purpose, and therefore fail the Nixon standard.

        Finally, each of the proposed requests, propounded on a law firm that performed hours of

work on behalf of its clients, is certain to call for privileged information. Privileged information,

without a waiver, is inadmissible. United States v. Pena, No. 15 Cr. 551 (AJN), 2016 WL 8735699,



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at *2 (S.D.N.Y. Feb. 12, 2016); Barnes, 2008 WL 9359654, at *4. It is up to the FTX Debtors to

determine whether to waive the privilege. Accordingly, beyond the subpoena’s facial failure under

the other elements of Nixon, as described above, the defendant must establish that each proposed

request calls for non-privileged information for it to satisfy Nixon’s admissibility requirement. The

defendant argues that Fenwick’s files will “likely contain” non-privileged documents such as

“additional invoices,” documents over which “the FTX Debtors have already waived privilege,”

or “documents that were produced as part of any joint representation or individual representation

of Mr. Bankman-Fried.” (Dkt. 151 at 5). None of those categories of materials satisfy Nixon’s

requirements. Starting with “additional invoices,” the defendant has not established that they

would be relevant to an advice of counsel or good faith defense. With respect to the documents

over which the FTX Debtors have already waived, the defendant has not established that Fenwick

is likely to have relevant, admissible documents that have not already been produced by the FTX

Debtors. The defendant’s suggestion that these could be non-privileged by virtue of a “joint

representation or individual representation” is baseless: he has proffered no facts that there was

ever a joint or individual representation of the defendant by Fenwick that related to the topics of

the proposed subpoena requests: a fact that would obviously be within his own personal

knowledge.

III.   The Defendant Must Produce to the Government All Materials Obtained Pursuant
       to Subpoenas

       Were the Court to authorize the defendant to serve any Rule 17(c) subpoenas in this case,

including the proposed subpoena to Fenwick in some form, the defendant should be required to

promptly produce to the Government any subpoena returns received in response. Rule 17(c)(1)

makes no reference to ex parte review of subpoena returns and instead contemplates that

subpoenaed documents will be returned to the Court, which may permit “the parties and their


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attorneys to inspect all or part of them.” Because the Court’s authority should not be invoked to

permit a party to engage in trial by ambush, “[i]t is the majority view of the courts that the structure

of Rule 17 requires the court to allow both parties to view the documents returned under the

subpoena.” United States v. Litos, No. 12 Cr. 175, 2014 WL 806022, at *5 (N.D. Ind. Feb. 24,

2014). Thus, while courts permit Rule 17 subpoenas to be returnable to the issuing party instead

of the court, “Rule 16 would oblige the party to make the materials available to the other side

anyway.” United States v. St. Lawrence, No. 16 Cr. 259 (CS), ECF. No. 66 (S.D.N.Y. Dec. 22,

2016); see also United States v. Londonio, No. 17 Cr. 89 (CS) (S.D.N.Y.), 1/3/2019 Tr., at 77-78

(“[I]f either side has used 17(c) and gets materials, they have to be turned over to the other side. .

. . [I]f either side has been properly using Rule 17(c) subpoenas, which are intended to obtain

specific materials that the party expects to offer at trial, that’s Rule 16 material.”).

         Therefore, the defendant should be required to promptly produce to the Government any

subpoena returns he obtains as a result of the issuance of any Rule 17(c) subpoena in advance of

trial.




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                                       CONCLUSION

       Accordingly, the Government respectfully requests that the Court deny the defendant’s

motion to compel and to issue a Rule 17(c) subpoena to Fenwick. Additionally, if the Court were

to authorize any Rule 17 subpoena, the Court should order the defendant to produce all Rule 17

subpoena returns to the Government.

Dated: June 9, 2023
       New York, New York
                                                   Respectfully submitted,

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